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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


AMERICAN BAR ASSOCIATION et al.,

               Plaintiffs,
       v.
                                                   Civil Action No. 16-2476 (TJK)
UNITED STATES DEPARTMENT OF
EDUCATION et al.,

               Defendants.


                                           ORDER

       For the reasons set forth in the Court’s accompanying Memorandum Opinion, it is hereby

ORDERED that Plaintiffs’ Motion for Summary Judgment (ECF No. 17) is GRANTED IN

PART and DENIED IN PART, and Defendants’ Cross-Motion for Summary Judgment (ECF

No. 22) is GRANTED IN PART and DENIED IN PART. Judgment is ENTERED on behalf

of Michelle Quintero-Millan, Geoffrey Burkhart, and Kate Voigt. Judgment is also ENTERED

on behalf of Defendants as to Jamie Rudert and the ABA.

       It is further ORDERED that Plaintiffs’ Motion to Allow for Extra-Record Review (ECF

No. 24) and Supplemental Motion to Allow for Extra-Record Review (ECF No. 35) are

GRANTED.

       It is further ORDERED that the Primary Purpose and School-like Setting standards, as

identified in the Opinion, are hereby VACATED and the November 19, 2016 denial letter sent

to Quintero-Millan, October 12, 2016 denial letter sent to Burkhart, and December 10, 2014

denial letter sent to Voigt are hereby REMANDED to the Department of Education for further

proceedings consistent with the Opinion.
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       This is a final, appealable Order. The Clerk of Court is directed to close the case.



       SO ORDERED.



                                                             /s/ Timothy J. Kelly
                                                             TIMOTHY J. KELLY
                                                             United States District Judge

Date: February 22, 2019




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